861 F.2d 266Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rodney Sylvester SMITH, Petitioner-Appellant,v.John N. BROWN, Warden, Respondent-Appellee.
    No. 88-6723.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1988.Decided Oct. 4, 1988.
    
      Rodney Sylvester Smith, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Richard Bruce Rosenblatt, Office of Attorney General, for appellee.
      Before ERVIN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Rodney Sylvester Smith appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Brown, C/A No. 88-123-S (D.Md. May 25, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    